
*1293OPINION.
Littleton:
The issue involved in this proceeding is the same as the issue decided by the Board in the Appeal of Interurban Construction Co., 5 B. T. A. 529, upon authority of the decision of the Board in the Appeal of Farmers Deposit Bank and Affiliated Banks, 5 B. T. A. 520. Upon the authority of the decisions in those cases, it is held that petitioner derived no taxable gain from the sale of stock of the Oklahoma Union Railway Co. in 1920, and the Commissioner’s determination of a deficiency, in so far as it resulted from the inclusion of a profit upon this transaction, was erroneous.

Judgment will be entered on 15 days' notice, wader Rule 50.

